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 5
                   IN THE UNITED STATES DISTRICT COURT
 6
                       EASTERN DISTRICT OF CALIFORNIA
 7
 8
 9   United States of America,            ) Case No. 11-CR-00415-AWI
                                          )
10                   Plaintiff,           )
     v.                                   ) ORDER AUTHORIZING FILING OF
11                                        ) EXHIBITS UNDER SEAL
                                          )
12                                        )
     JOSE LUIS VALENCIA-DIAZ,             )
13                                        )
                  Defendant.              )
14   _________________________            )

15
     GOOD CAUSE APPEARING, it is hereby ordered that defendant
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     Jose Luis Valencia-Daiz, be allowed to file Exhibits under
17
     seal.
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     IT IS SO ORDERED.
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22   Dated:        August 2, 2012
     0m8i78                 CHIEF UNITED STATES DISTRICT JUDGE
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